      Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 1 of 29




                                     In the United States District Court
                                      for the Southern District of Texas
                                               Houston Division

    Liz Gomez, et al.,

                   Plaintiffs,                                    Civil Action No. 4:21-CV-01698

           v.

    Harris County, Texas, et al.,                                 Jury Demanded

                   Defendants.

                                 Constable Alan Rosen’s Motion to Dismiss

         Constable Alan Rosen, sued and appearing in his individual capacity only, 1 moves the

Court to dismiss Plaintiffs Liz Gomez, Marissa Sanchez, Felicia McKinney, and Jassmine Huff’s

claims under 42 U.S.C. § 1983 because Plaintiffs have failed to state a claim upon which relief can

be granted against Constable Rosen. Specifically, Plaintiffs fail to allege facts showing a plausible

claim of any constitutional violation against Constable Rosen individually and Plaintiffs’ pleadings

fail to even address, let alone overcome the presumption of immunity from suit to which Constable

Rosen is entitled.

         Thus, based solely upon the controlling law measured against Plaintiffs’ sensationalistic

but ultimately clearly legally insufficient pleading allegations, Constable Rosen is entitled to

dismissal under Rule 12(b)(6) for several reasons as follows:




1
 Claims brought against Constable Rosen in his official capacity are treated as claims against the entity Harris County,
Texas, which is separately represented. See Moss v. Harris Cty. Constable Pct. One, 851 F.3d 413 (5th Cir. 2017).


4843-8828-5424.2
        Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 2 of 29




                                                                   Table of Contents

Table of Authorities ..................................................................................................................... III

Nature and Stage of the Proceedings ................................................................................................................. - 1 -

Summary of the Grounds for Dismissal .............................................................................................................. - 1 -

Issues Presented ................................................................................................................................................ - 2 -

Standard of Review ............................................................................................................................................ - 3 -
   a.   Motions to dismiss for failure to state a claim. ........................................................................................ - 3 -
   b.   Claims against governmental officials must meet a heightened pleading standard. .............................. - 4 -

Argument & Authorities .................................................................................................................................... - 5 -
   1.    Plaintiffs fail to state an equal protection claim for sexual harassment. ............................................... - 7 -
   1.1.      Plaintiffs’ unsupported “failure to train” theory fails as a matter of law.......................................... - 10 -
   1.2.      Plaintiffs’ “refusal to remediate” theory is inapplicable here and, even so, Plaintiffs’ theory is belied
   by Plaintiffs’ own pleading admissions. ........................................................................................................... - 11 -
   1.3.      Plaintiffs’ “ratification” theory provides no basis for a claim against Constable Rosen. .................. - 15 -
   1.4.      Plaintiffs cannot assert a supervisor liability claim against Constable Rosen because Plaintiffs fail to
   state a claim against Chief Gore or Lt. Rigdon. ................................................................................................. - 15 -
   2.    Felicia McKinney has not and cannot as a matter of law state a due process claim for “sexual battery.” .. -
   16 -
   3.    Constable Rosen is immune from all Plaintiffs’ claims. .......................................................................... - 18 -


PRAYER....................................................................................................................................... - 20 -

CERTIFICATE OF SERVICE ............................................................................................................ - 22 -




                                                                                  ii
       Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 3 of 29




                                                      Table of Authorities

Cases                                                                                                                           Page(s)

Estate of Aguirre v. City of San Antonio,
   995 F.3d 395 (5th Cir. 2021) ...................................................................................................18

Alton v. Tex. A&M Univ.,
    168 F.3d 196 (5th Cir. 1999) .....................................................................................................7

Anderson v. Pasadena Indep. Sch. Dist.,
   184 F.3d 439 (5th Cir. 1999) .................................................................................................6, 9

Anderson v. Valdez,
   913 F.3d 472 (5th Cir. 2019) ...................................................................................................20

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) .........................................................................................3, 4, 6, 11, 14, 15

Backe v. Leblanc,
   691 F.3d 645 (5th Cir. 2012) ...................................................................................................19

Baker v. Putnal,
   75 F.3d 190 (5th Cir. 1996) .................................................................................................4, 11

Beker Phosphate Corp. v. Muirhead,
   581 F.2d 1187 (5th Cir. 1978) ...................................................................................................6

Bell Atlantic Corp. v. Twombly,
    550 U.S. 544 (2007) ...................................................................................................................4

Benavides v. County of Wilson,
   955 F.2d 968 (5th Cir. 1992) ...................................................................................................11

Blackwell v. Barton,
   34 F.3d 298 (5th Cir. 1994) .....................................................................................................19

Brown v. Bd. of Trs. Sealy Indep. Sch. Dist.,
   871 F. Supp. 2d 581 (S.D. Tex. 2012) (Ellison, J.)....................................................................5

Brown v. Bryan Cty.,
   219 F.3d 450 (5th Cir. 2000) ...................................................................................................11

Burlington Indus., Inc. v. Ellerth,
   524 U.S. 742 (1998) .................................................................................................................12

Coon v. Ledbetter,
   780 F.2d 1158 (5th Cir. 1986) .................................................................................................15


                                                                    iii
       Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 4 of 29




Canton v. Harris,
   489 U.S. 378 (1989) .................................................................................................................11

Castellano v. Fragozo,
   352 F.3d 939 (5th Cir. 2003) .....................................................................................................5

Chestang v. Alcorn State Univ.,
   820 F. Supp. 2d 772 (S.D. Miss. 2011)....................................................................................17

Colbert v. Georgia-Pacific Corp.,
   995 F. Supp. 697 (N.D. Tex. 1998) .........................................................................................13

Coleman v. Sch. Bd. of Richland Parish,
   418 F.3d 511 (5th Cir. 2005) ...................................................................................................12

Collins v. City of Harker Heights,
   916 F.2d 284 (5th Cir. 1990) ...................................................................................................16

County of Sacramento v. Lewis,
   523 U.S. 833 (1998) .................................................................................................................17

Daniels v. Williams,
   474 U.S. 327 (1986) .............................................................................................................7, 16

Dartmouth Review v. Dartmouth College,
   889 F.2d 13 (5th Cir. 1989) .......................................................................................................3

Davis v. Scherer,
   468 U.S. 183 (1984) ...................................................................................................................5

Doe v. Silsbee Indep. Sch. Dist.,
   402 Fed. Appx. 852 (5th Cir. 2010) .........................................................................................17

EEOC v. Boh Bros. Constr. Co., L.L.C.,
  731 F.3d 444 (5th Cir. 2013) .....................................................................................................8

Fernandez-Montes v. Allied Pilots’ Association,
   987 F.2d 278 (5th Cir. 1993) .....................................................................................................4

Gates v. Tex. Dep’t of Protective & Regulatory Servs.,
   537 F.3d 404 (5th Cir. 2008) .....................................................................................................6

Gehring v. Harris County,
   No. 4:15-cv-00726, 2016 U.S. Dist. LEXIS 7189 (S.D. Tex. Jan. 21, 2016)............................5

George v. Harris Cty.,
   Civ. A. No. H-10-3235, 2012 U.S. Dist. LEXIS 94318 (S.D. Tex. July 9,
   2012) (Rosenthal, J.) ................................................................................................................16


                                                                    iv
       Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 5 of 29




Gowesky v. Singing River Hosp. Sys.,
  321 F.3d 503 (5th Cir. 2003) .....................................................................................................7

Gunaca v. Texas,
   65 F.3d 467 (5th Cir. 1995) .....................................................................................................19

Harmon v. Dallas Cty.,
   927 F.3d 884 (5th Cir. 2019) .....................................................................................................5

Harris v. Forklift Systems, Inc.,
   510 U.S. 17 (1993) .....................................................................................................................8

Harvey v. Montgomery Cty.,
   881 F. Supp. 2d 785 (S.D. Tex. 2012) (Ellison, J.)....................................................................9

Harvill v. Westward Communications, LLC,
   433 F.3d 428 (5th Cir. 2005) .............................................................................................13, 14

Hernandez v. Tex. Dep’t of Protective & Regulatory Servs.,
   380 F.3d 872 (5th Cir. 2004) .....................................................................................................6

Hobart v. City of Stafford,
   916 F. Supp. 2d 783 (S.D. Tex. 2013) (Ellison, J.)..................................................................15

Hockman v. Westward Commc’ns, LLC,
   407 F.3d 317 (5th Cir. 2004) .....................................................................................................8

Indest v. Freeman Decorating,
   164 F.3d 258 (5th Cir. 1999) ...............................................................................................8, 14

James v. Tex. Collin County,
   535 F.3d 365 (5th Cir. 2008) .....................................................................................................5

Johnson v. Halstead,
   916 F.3d 410 (5th Cir. 2019) .....................................................................................................7

Jolly v. Klein,
    923 F. Supp. 931 (S.D. Tex. 1996) ........................................................................................4, 9

Kansa Reinsurance Co., Ltd. v. Cong. Mortgage Corp. of Tex.,
   20 F.3d 1362 (5th Cir. 1994) .....................................................................................................4

Kipps v. Caillier,
   197 F.3d 765 (5th Cir.), cert. den’d., 531 U.S. 816 (2000) .....................................................18

Lauderdale v. Tex. Dep’t of Crim. Justice,
   512 F.3d 157 (5th Cir. 2007) ...............................................................................................7, 14



                                                                     v
       Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 6 of 29




Longoria v. San Benito Indep. Consol. Sch. Dist.,
   942 F.3d 258 (5th Cir. 2019) .............................................................................................19, 20

McClendon v. City of Columbia,
  305 F.3d 314 (5th Cir. 2002) (en banc) .....................................................................................5

McPeters v. Edwards,
  806 F. Supp. 2d 978 (S.D. Tex. 2011) (Ellison, J.)....................................................................4

Md. Manor Assocs. v. City of Houston,
   816 F. Supp. 2d 394 (S.D. Tex. 2011) (Rosenthal, J.) ...............................................................3

Morgan v. Chapman,
  969 F.3d 238 (5th Cir. 2020) .....................................................................................................6

Nash v. Electrospace System, Inc.,
   9 F.3d 401 (5th Cir. 1993) .......................................................................................................13

Newby v. Enron Corp. (In re Enron Corp. Sex., Derivative & ERISA Litig.),
   761 F. Supp. 2d 504 (S.D. Tex. 2011) (Harmon, J.) ................................................................12

Nieto v. San Perlita Indep. Sch. Dist.,
   894 F.2d 174 (5th Cir. 1990) .....................................................................................................5

Oliver v. Scott,
    276 F.3d 736 (5th Cir. 2002) .....................................................................................................4

Parker v. Missouri City,
   Civ. A. No. H-12-2484, 2014 U.S. Dist. LEXIS 171021 (S.D. Tex. Dec. 10,
   2014) (Harmon, J.) ...................................................................................................................16

Paul v. Davis,
   424 U.S. 693 (1976) .................................................................................................................16

Richardson v. Avery,
   No. 3:16-CV-2631-M-BH, 2018 U.S. Dist. LEXIS 182589 (N.D. Tex. Oct. 1,
   2018) ........................................................................................................................................16

Roberts v. City of Shreveport,
   397 F.3d 287 (5th Cir. 2005) ...................................................................................................10

Rodriguez v. Christus Spohn Health Sys. Corp.,
   874 F. Supp. 2d 635 (S.D. Tex. 2012) (Rainey, J.)..................................................................17

Saucier v. Katz,
   533 U.S. 194 (2001) .................................................................................................................19




                                                                        vi
       Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 7 of 29




Snyder v. Trepagnier,
   142 F.3d 791 (5th Cir. 1998) ...................................................................................................10

Stewart v. Murphy,
   174 F.3d 530 (5th Cir. 1999) .....................................................................................................6

Tanik v. Southern Methodist Univ.,
   116 F.3d 775 (5th Cir. 1997) .....................................................................................................7

Thompson v. Steele,
   709 F.2d 381 (5th Cir. 1983) .....................................................................................................9

Walker v. Thompson,
   214 F.3d 615 (5th Cir. 2000) .....................................................................................................8

Washington v. Glucksberg,
  521 U.S. 702 (1997) .................................................................................................................17

Williams v. Town of Delhi,
   No. 14-043, 2015 U.S. Dist. LEXIS 24173 (W.D. La. Feb. 17, 2015)....................................16

Woods v. Delta Bev. Group, Inc.,
  274 F.3d 295 (5th Cir. 2001) ...................................................................................................14

Zarnow v. City of Wichita Falls,
   614 F.3d 161 (5th Cir. 2010) ...................................................................................................10

Statutes

42 U.S.C. § 1983 ..................................................................1, 2, 4, 5, 6, 7, 9, 10, 15, 16, 17, 19, 20

Civil Rights Act of 1964 Title VII ...................................................................................7, 8, 14, 20

Tex. Civ. Prac. & Rem. Code section 101.106 ................................................................................2

Tex. Lab. Code section 408.001 ......................................................................................................2

Texas Occupations Code section 1701.251 ...................................................................................11

Other Authorities

Federal Rules of Evidence Rule 201..............................................................................................11

Rule 12(b)(6) ..........................................................................................................................4, 5, 20




                                                                      vii
        Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 8 of 29




                                     Nature and Stage of the Proceedings

           On May 24, 2021, Plaintiffs Liz Gomez, Marissa Sanchez, Felicia McKinney, and

Jacquelyn Aluotto filed suit against Harris County and, in their individual capacities, Constable

Alan Rosen, Assistant Chief Chris Gore, and Lieutenant Shane Rigdon of Harris County

Constable’s Office, Precinct One, asserting claims under 42 U.S.C. § 1983 for alleged violations

of the Equal Protection and Due Process Clauses of the Fourteenth Amendment. 2 On June 2, 2021,

Plaintiffs filed their first amended complaint, the operative pleading, adding Jassmine Huff as a

plaintiff, 3 but still failing to state a plausible claim against Alan Rosen and still failing to overcome

the presumption of Alan Rosen’s immunity from suit.

                                        Summary of the Grounds for Dismissal

           Against Constable Rosen individually, Plaintiffs Gomez, Sanchez, McKinney, and Huff 4

have imagined several causes of action not even supported under the law and Plaintiffs have

attempted through only broad, vague, and thus impermissible conclusory allegations to assert

violations of the Equal Protection and Due Process Clauses, arising out of Plaintiffs participation

in undercover operations and investigations targeting human trafficking and prostitution which

Alan Rosen authorized but in which, particularly as to the specific incidents of which Plaintiffs

complain, Alan Rosen had no personal involvement. The “clearly established” law simply does

not support the existence of Plaintiffs’ due process claim, and, as to Plaintiffs’ equal protection

claim, Plaintiff’s vague and conclusory allegations are precisely those the Supreme Court, Fifth

Circuit, and this Court have held fail to state a plausible claim under both prongs necessary to

overcome the legally required presumption of Constable Rosen’s immunity, as is Plaintiffs’


2
    ECF No. 1.
3
    ECF No. 7.
4
    Plaintiff Aluotto has not asserted any claim against Constable Rosen, Chief Gore, or Lt. Rigdon.


                                                          -1-
      Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 9 of 29




burden.

         Plaintiffs Gomez, Sanchez, McKinney, and Huff assert two distinct, vague, and purely

conclusory theories suggesting that Constable Rosen in his supervisory capacity only subjected

Plaintiffs to a sexually hostile work environment and sexual battery which, without identifying

any legal basis, Plaintiffs claim violate the Fourteenth Amendment to the United States

Constitution, even though Plaintiffs allege no personal involvement on Alan Rosen’s part and

the law does not support Plaintiffs’ efforts to claim respondeat superior liability under § 1983. Not

only are Plaintiffs’ fantastic, fictional accounts untrue, not one Plaintiff has alleged any facts that

would state a cognizable claim against Alan Rosen that actually exists in the law. 5

                                                  Issues Presented

1.       Plaintiffs Gomez, Sanchez, McKinney, and Huff have failed to state a sexually hostile work
         environment claim against Constable Rosen under the Equal Protection Clause of the
         Fourteenth Amendment to the U.S. Constitution.

2.       Plaintiff McKinney has failed to state a claim for relief against Constable Rosen under the
         Due Process Clause of the Fourteenth Amendment to the U.S. Constitution.

3.       Even if Plaintiffs Gomez, Sanchez, McKinney, and Huff could state a constitutional claim
         against Constable Rosen, Plaintiffs’ factual allegations fail to meet the heightened pleading
         standard necessary to overcome the legal presumption of Constable Rosen’s qualified
         immunity.




5
 But one glaring example discussed in more detail infra is the pure legal fact that, without regard to the fictionalized,
sensational allegations, all claims of “Sexual Battery” are simply claims of the common law tort of battery. Despite
Supreme Court authority rejecting their effort, Plaintiffs attempt, in several separate claims, to “constitutionalize” this
common law tort from which Constable Rosen is statutorily immune under section 101.106, Tex. Civ. Prac. & Rem.
Code. Even if Constable Rosen was not statutorily immune from common law tort claims, Plaintiffs’ claims would be
barred by section 408.001, Tex. Lab. Code.


                                                          -2-
     Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 10 of 29




                                         Standard of Review

a.      Motions to dismiss for failure to state a claim.

        “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Thus,

although the federal pleading requirements are reasonably low, they are real and the threshold for

stating a claim for relief requires factual allegations regarding each material element necessary to

sustain recovery under an actionable legal theory. Dartmouth Review v. Dartmouth College, 889

F.2d 13, 16 (5th Cir. 1989). “Threadbare recitals of the elements of a cause of action, supported by

mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678. A court is not required to

accept mere legal conclusions as true. Id. Instead, legal conclusions “must be supported by factual

allegations.” Id. “When there are well-pleaded factual allegations, a court should assume their

veracity and then determine whether they plausibly give rise to an entitlement to relief.” Id.

        “A claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id.

(citing Twombly, 550 U.S. at 556).

        Determining whether a complaint states a plausible claim for relief will … be a
        context-specific task that requires the reviewing court to draw on its judicial
        experience and common sense. But where the well-pleaded facts do not permit the
        court to infer more than the mere possibility of misconduct, the complaint has
        alleged – but it has not “shown” – “that the pleader is entitled to relief.”

Id. (quoting Fed. R. Civ. P. 8(a)(2)) (internal citation omitted). “The plausibility standard is not

akin to a probability requirement, but it asks for more than a sheer possibility that a defendant has

acted unlawfully.” Md. Manor Assocs. v. City of Houston, 816 F. Supp. 2d 394, 402 (S.D. Tex.

2011) (Rosenthal, J.) (citing, Iqbal, 556 U.S. at 678). “Where a complaint pleads facts that are

‘merely consistent with’ a defendant’s liability, it stops short of the line between possibility and

                                                  -3-
     Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 11 of 29




plausibility of ‘entitlement to relief.’” Iqbal, 556 U.S. at 678. “Nor does a complaint suffice if it

tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Id.

       “When plaintiffs ‘have not nudged their claims across the line from conceivable to

plausible, their complaint must be dismissed.’” Twombly, 550 U.S. at 570, accord Iqbal, 556 U.S.

at 680. Important here is the well-settled rule that conclusory allegations or legal conclusions

masquerading as factual allegations will not suffice to avoid dismissal. Fernandez-Montes v. Allied

Pilots’ Association, 987 F.2d 278, 284 (5th Cir. 1993). If, based on the facts pleaded and judicially

noticed, a successful affirmative defense appears, then dismissal under Rule 12(b)(6) is proper.

Kansa Reinsurance Co., Ltd. v. Cong. Mortgage Corp. of Tex., 20 F.3d 1362, 1366 (5th Cir. 1994).

b.     Claims against governmental officials must meet a heightened pleading standard.

       To state a claim against a governmental official sued in his individual capacity, Plaintiffs

must satisfy a heightened pleading standard. Oliver v. Scott, 276 F.3d 736, 742 (5th Cir. 2002). See

also, McPeters v. Edwards, 806 F. Supp. 2d 978, 983 (S.D. Tex. 2011) (Ellison, J.), aff’d 464 Fed.

Appx. 351 (5th Cir. 2012). Accordingly, the Supreme Court’s holding in Iqbal has special

significance in a case against individual public employees, such as Constable Rosen. “To state a

cause of action under § 1983, the plaintiff must allege facts reflecting the defendants’ participation

in the alleged wrong, specifying the personal involvement of each defendant.” Jolly v. Klein,

923 F. Supp. 931, 943 (S.D. Tex. 1996) (emphasis added) (citing Murphy v. Kellar, 950 F.2d 290,

292 (5th Cir. 1992)).

       To meet this standard, Plaintiffs’ complaint must allege specific conduct and direct actions

of each individual which not only show a constitutional deprivation but also demonstrate the

conduct alleged was such that, under clearly established law no reasonable official could have

thought his own conduct constitutional. Oliver, 276 F.3d at 742. See also, Baker v. Putnal, 75 F.3d



                                                -4-
    Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 12 of 29




190, 195 (5th Cir. 1996). Since as to “qualified immunity, the burden is on the plaintiff to

demonstrate the inapplicability of the defense,” McClendon v. City of Columbia, 305 F.3d 314, 322

(5th Cir. 2002) (en banc), to avoid a Rule 12(b)(6) dismissal, Plaintiffs must allege particularized

facts showing direct conduct of Constable Rosen which, if proven, would defeat his immunity

from suit. Cf., Harmon v. Dallas Cty., 927 F.3d 884, 892 (5th Cir. 2019); Nieto v. San Perlita Indep.

Sch. Dist., 894 F.2d 174, 178 (5th Cir. 1990).

                                    Argument & Authorities

       It is well-established that “Section 1983 is not itself a source of substantive rights, but

rather merely provides a method for vindicating federal rights elsewhere conferred.” Brown v. Bd.

of Trs. Sealy Indep. Sch. Dist., 871 F. Supp. 2d 581, 596 (S.D. Tex. 2012) (Ellison, J.) (internal

quotations omitted) (citing Albright v. Oliver, 510 U.S. 266, 271 (1994)). The deprivation of a right

found under state law is not sufficient to state a claim under section 1983 as section 1983 does not

“constitutionalize” state laws. Davis v. Scherer, 468 U.S. 183, 194 (1984). As this Court, Judge

Harmon presiding, has held, section 1983 only “provides a cause of action for individuals who

have been deprived of their rights, privileges, or immunities secured by the Constitution and

laws of the United States by a person acting under color of state law.” Gehring v. Harris County,

No. 4:15-cv-00726, 2016 U.S. Dist. LEXIS 7189, *27 (S.D. Tex. Jan. 21, 2016) (internal citation

omitted) (emphasis added). Indeed, “the federal courts have repeatedly held that common law and

state tort law do not define the scope of liability under § 1983.” Castellano v. Fragozo, 352 F.3d

939, 948 (5th Cir. 2003) (citation omitted). Thus, to state a claim under section 1983, a plaintiff

must allege facts that if true would (1) show a violation of a right secured by the Constitution

or laws of the United States and (2) demonstrate the alleged deprivation was committed by a

person acting under color of state law. Cf., James v. Tex. Collin County, 535 F.3d 365, 373 (5th



                                                 -5-
    Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 13 of 29




Cir. 2008). “[C]onduct which merely engenders common law tort liability, without infringing on

Constitutionally protected interests, is not a sufficient basis to support a cause of action under

Section 1983. Section 1983 simply does not provide a remedy for mere common law torts,

even though committed under color of state law.” Beker Phosphate Corp. v. Muirhead, 581 F.2d

1187, 1189 (5th Cir. 1978) (emphasis added), accord Morgan v. Chapman, 969 F.3d 238, 246-247

(5th Cir. 2020). Simply put, Plaintiff McKinney’s claim of “battery” is not a constitutional or

federal law claim and therefore not cognizable under section 1983.

       Each defendant’s actions in a section 1983 case must be considered individually. Stewart

v. Murphy, 174 F.3d 530, 537 (5th Cir. 1999); Hernandez v. Tex. Dep’t of Protective & Regulatory

Servs., 380 F.3d 872, 883-84 (5th Cir. 2004). Thus, to state a claim, Plaintiffs must allege facts

sufficient to show unconstitutional – not state law tort – conduct of Constable Rosen individually.

       Further, in attempting to do so, Plaintiffs must adhere to well-settled proposition that

“[s]upervisory officials cannot be held liable under section 1983 for the actions of

subordinates…on any theory of vicarious or respondeat superior liability.” Davis ex rel. v. City of

N. Richland Hills, 406 F.3d 375, 381 (5th Cir. 2005). “Rather, Plaintiffs must show that the conduct

of the supervisor[] [itself] denied [Plaintiffs’] [their] constitutional rights,” id., by “affirmatively

participating in the acts that caused the constitutional deprivation, or…implementing

unconstitutional policies that causally resulted in the constitutional injury.” Gates v. Tex. Dep’t of

Protective & Regulatory Servs., 537 F.3d 404, 435 (5th Cir. 2008) (quotation modified). “Because

vicarious liability is inapplicable to … § 1983 suits, a plaintiff must plead that each Government-

official defendant, through the official’s own individual actions, has violated the Constitution.”

Iqbal, 556 U.S. at 676 (emphasis added). It is not enough “to allege that government officials with

no direct contact with a plaintiff are responsible for acts of their subordinates.” Anderson v.



                                                 -6-
     Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 14 of 29




Pasadena Indep. Sch. Dist., 184 F.3d 439, 443 (5th Cir. 1999) (quotation modified) (citing Woods

v. Edwards, 51 F.3d 577, 583 (5th Cir. 1995).

         Lastly, Plaintiffs must allege facts showing for each that the acts constituting a recognized

constitutional deprivation were intentional, not negligent. Daniels v. Williams, 474 U.S. 327, 331-

32 (1986). “Actions and decisions by officials that are merely inept, erroneous, ineffective, or

negligent do not amount to deliberate indifference and do not divest officials of qualified

immunity.” Alton v. Tex. A&M Univ., 168 F.3d 196, 201 (5th Cir. 1999).

1.       Plaintiffs fail to state an equal protection claim for sexual harassment. 6

         Because “Section 1983 and Title VII are parallel causes of action,” Johnson v. Halstead,

916 F.3d 410, 417 (5th Cir. 2019) (quotation modified), employment discrimination claims brought

under section 1983 are analyzed under the evidentiary framework applicable to claims arising

under Title VII of the Civil Rights Act of 1964. Tanik v. Southern Methodist Univ., 116 F.3d 775,

775 (5th Cir. 1997). Thus, to state a claim of sexual harassment under section 1983, a plaintiff must

allege facts showing: (1) the employee belongs to a protected class; (2) the employee was subject

to unwelcome sexual harassment; (3) the harassment was based on sex; and (4) that the harassment

affected a “term, condition, or privilege” of employment. Cf., Lauderdale v. Tex. Dep’t of Crim.

Justice, 512 F.3d 157, 163 (5th Cir. 2007).

         “The legal standard for workplace harassment is … high.” Gowesky v. Singing River Hosp.

Sys., 321 F.3d 503, 509 (5th Cir. 2003). For harassment to “affect a term, condition, or privilege of

employment,” it must be “sufficiently severe or pervasive to alter the conditions of [Plaintiffs’]



6
 Since “sexual harassment in public employment violate[s] the Equal Protection Clause of the Fourteenth Amendment
and is therefore actionable under § 1983,” Lauderdale v. Tex. Dep’t of Crim. Justice, 512 F.3d 157, 166 (5th Cir.
2007) (quotation omitted), Plaintiffs have identified, albeit vaguely and conclusorily, but have still not stated a claim
of “a violation of a right secured by the Constitution or laws of the United States,” because each fail to allege facts
under the four requisite elements necessary to state a claim.


                                                         -7-
     Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 15 of 29




employment and create an abusive working environment,” Southard, 114 F.3d at 554, particularly

where, as Plaintiffs’ pleadings here admit, the alleged “[s]exual harassment…does not culminate

in an adverse employment decision.” Indest v. Freeman Decorating, 164 F.3d 258, 264 (5th Cir.

1999). Merely offensive conduct is not actionable. Harris v. Forklift Systems, Inc., 510 U.S. 17,

21 (1993). Rather, the court must “view the alleged harassment with common sense, and

appropriate sensitivity to social context to determine whether it constitutes conduct which a

reasonable person in … [Plaintiffs’] position would find severely hostile or abusive.” EEOC v. Boh

Bros. Constr. Co., L.L.C., 731 F.3d 444, 460 (5th Cir. 2013) (quoting Oncale v. Sundowner Offshore

Servs., 523 U.S. 75, 80 (1998)). 7

         Stated differently, the alleged harassment “must be both objectively and subjectively

abusive,” Hockman v. Westward Commc’ns, LLC, 407 F.3d 317, 325 (5th Cir. 2004), and the court

must consider the totality of the circumstances, including “the frequency of the discriminatory

conduct; its severity; whether it is physically threatening or humiliating, or a mere offensive

utterance; and whether it unreasonably interferes with an employee’s work performance.” Walker

v. Thompson, 214 F.3d 615, 625 (5th Cir. 2000). Because Title VII is not a general civility code for

the American workplace, the alleged “conduct must be extreme to amount to a change in the

terms and conditions of employment.” Indest, 164 F.3d at 263 (emphasis added) (quoting

Faragher v. City of Boca Raton, 524 U.S. 775, 788 (1998)).




7
  Here, the Court should take into consideration that not one Plaintiff claims to have utilized the Constable’s Office’s
open-door reporting policy and procedure to raise any concern before filing suit and not one Plaintiff has found what
they claim only in their lawsuit to be “hostile” sufficiently severe or pervasive as to motivate any to quit. To be sure,
each Plaintiff remains employed with the Constable’s Office.


                                                         -8-
       Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 16 of 29




           As discussed supra, in cases where a plaintiff asserts a section 1983 claim against a

defendant in his individual capacity, the plaintiff must “establish that the defendant was either

personally involved in the deprivation or that his wrongful actions were causally connected to the

deprivation.” Anderson, 184 F.3d at 443. This Court has repeatedly held a supervisor is not

personally liable for the actions of any subordinate when the supervisor had no direct, personal

involvement. See, e.g., Harvey v. Montgomery Cty., 881 F. Supp. 2d 785, 801 (S.D. Tex. 2012)

(Ellison, J.) (citing Anderson, 184 F.3d at 443-44).

           “Personal involvement is an essential element of a civil rights cause of action,” Thompson

v. Steele, 709 F.2d 381, 382 (5th Cir. 1983), yet Plaintiffs do not allege, and it is otherwise

undisputed that Constable Rosen did not “personally participate” or have any direct or

personal involvement in any of the conduct of which Plaintiffs complain. 8 Instead, Plaintiffs’

sexual harassment claim against Constable Rosen is based on the Constable’s role as supervisor

of the Human Trafficking Unit and arises only from three conclusory allegations that assert

Constable Rosen did no more than allegedly: 9

               •     created and oversaw the … unit which subjected untrained subordinate officers to
                     sexual contact from their commanding officers; 10

               •     ratified Chief Gore’s actions in subjecting employees to abusive, traumatic, and
                     harassing work environments; and

               •     refused to take proper remedial actions when complaints were raised about the
                     hostile work environment created in the Human Trafficking Unit.



8
  ECF No. 7, passim. Although Plaintiffs allege “Constable Alan Rosen attended at least one of the[] [complained of]
‘parties’ personally,” id. at ¶ 1, Plaintiffs do not allege that Constable Rosen attended any operation or “party” made
the basis of Plaintiffs’ lawsuit.
9
    Id. ¶¶ 115-116
10
  Such an allegation could lead to no more than purely respondeat superior liability, yet “[u]nder § 1983, supervisory
officials cannot be held liable for the actions of subordinates under any theory of vicarious liability.” Jolly v. Klein, at
943.


                                                           -9-
        Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 17 of 29




           Even taking each of these allegations as true solely for the sake of argument here, not one

conclusory allegation supports, let alone states a claim against Constable Rosen based on

supervisor liability and none disprove the presumption of his immunity. Indeed, Plaintiffs’ claims

against the duly elected Constable are undone by Plaintiffs’ own pleading admissions 11 and well-

established Supreme Court and Fifth Circuit authority on the very limited nature of supervisory

liability under section 1983.

1.1.       Plaintiffs’ unsupported “failure to train” theory fails as a matter of law.

           To prevail on a failure to train theory, which Plaintiffs seem to assert here, “a plaintiff must

demonstrate: (1) that the [supervisor’s] training procedures were inadequate, (2) that the

[supervisor] was deliberately indifferent in adopting its training policy and (3) that the inadequate

training policy directly caused the violations in question.” Zarnow v. City of Wichita Falls, 614

F.3d 161, 170 (5th Cir. 2010) (internal quotations omitted). For evaluation of such a claim, “the

focus must be on the adequacy of the training program in relation to the tasks the particular officers

must perform.” Snyder v. Trepagnier, 142 F.3d 791, 798 (5th Cir. 1998). “[F]or liability to attach

based on an ‘inadequate training’ claim, a plaintiff must allege with specificity how a particular

training program is deficient.” Roberts v. City of Shreveport, 397 F.3d 287, 293 (5th Cir. 2005)

(emphasis added). 12 “In this inquiry, mere proof that the injury could have been prevented if the

officer had received better or additional training cannot, without more, support liability.” Id. Only

when a failure to train an officer actually, by its very operation, causes an injury may, in certain

very limited circumstances, it fairly be said to represent a policy for which a governmental




11
     See infra at pp. 12-15.
12
  Anything less would violate Iqbal’s prohibition of conclusory pleadings and mere assertions of factually
unsupported legal theories.


                                                    - 10 -
        Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 18 of 29




supervisor may be held individually responsible. Canton v. Harris, 489 U.S. 378, 390 (1989). See

also, Brown v. Bryan Cty., 219 F.3d 450, 459 (5th Cir. 2000).

           Importantly, law enforcement training is not in the hands of any supervisor, but rather the

State of Texas. Under Rule 201 of the Federal Rules of Evidence, the Court can and should take

judicial notice of Texas statutes which establish that the State statutorily has delegated the Texas

Commission on Law Enforcement (TCOLE) the responsibility for establishing law enforcement

officer licensing and training standards and providing officer training to all police officers

sufficient to prepare them to fulfill the duties entrusted to them, including compliance with the

United States and Texas Constitutions.13 By requiring TCOLE certification for all deputies,

Constable Rosen saw to appropriate training of all deputies based on the sufficiency of these

statewide statutory standards. Compare, Baker, 75 F.3d at 199-200; Benavides v. County of Wilson,

955 F.2d 968, 973 (5th Cir. 1992).

1.2.       Plaintiffs’ “refusal to remediate” theory is inapplicable here and, even so, Plaintiffs’
           theory is belied by Plaintiffs’ own pleading admissions.

           Plaintiffs contend Constable Rosen in his individual capacity “refused 14 to take proper

remedial actions when complaints were raised about the hostile work environment created in the

Human Trafficking Unit.” 15 It is well-established that an employer – but not a supervising

employee in his individual capacity – may be vicariously liable for “sexual harassment if it knew

or should have known of the harassment in question and failed to take prompt remedial action.”


13
  Specifically, section 1701.251 of the Texas Occupations Code requires that TCOLE “establish and maintain training
programs and records for officers.” Thus, under section 1701.253, all Harris County Precinct One Constable’s
deputies have received “comprehensive education and training program on civil rights…” which “covers the laws of
[the state of Texas] and of the United States pertaining to peace officers.” Further, there is no allegation Plaintiffs
were ever denied any training they requested.
14
   The term “refused” is the very type of threadbare, conclusory allegation, wholly unsupported by any factual
allegation with which the Plaintiffs’ complaint is rife and that the Supreme Court in Iqbal made clear deserves no
consideration in analyzing whether a complaint states claim.
15
     Id., ¶ 116 (emphasis added).


                                                        - 11 -
        Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 19 of 29




Coleman v. Sch. Bd. of Richland Parish, 418 F.3d 511, 521 n.43 (5th Cir. 2005). See also,

Burlington Indus., Inc. v. Ellerth, 524 U.S. 742, 759 (1998). Accordingly, whether Constable Rosen

took any proper remedial action is not only an inaccurate recitation of the employer liability

standard, 16 that standard does not pertain to Plaintiffs’ claim against the Constable in his individual

capacity and, thus, does nothing to support Plaintiff’s claim against Constable Rosen individually.

            Even if, purely arguendo, the Precinct One Constable’s Office’s remedial actions could be

relevant to Plaintiffs’ claim against Constable Rosen individually, Plaintiffs’ “refusal to remediate”

theory is belied by Plaintiffs’ own pleading admissions. No Plaintiff alleges she reported any

concern, let alone a formal complaint to Constable Rosen directly and, moreover, Precinct One

promptly addressed each Plaintiff’s concerns and conducted, on its own initiative, a proactive

investigation of the Human Trafficking Unit’s undercover operations. 17

            Above and beyond Precinct One’s proactive investigation, Liz Gomez, for example, alleges

that “[f]ollowing her first two operations, Gomez asked to be removed from the undercover team,”

but also concedes “her request was…granted.” 18 Marissa Sanchez requested and received a

transfer out to the patrol division after Sanchez discussed her concerns regarding the Human

Trafficking Unit with Constable Rosen’s Chief of Staff. 19 Similarly, Jassmine Huff, who had

worked in Precinct One’s patrol division before her assignment to the Human Trafficking Unit,



16
  To be clear, the correct statement of this element of employer liability is, as quoted supra, a “prompt remedial
action.” Coleman, 418 F.3d at 521 n.43.
17
  Id., ¶ 14 n.2. The Court may consider Constable Rosen’s statement in connection with this motion to dismiss because
Plaintiffs have included the statement in their operative pleading and, as Plaintiffs repeatedly contend, the Constable’s
statement provides information central to Plaintiffs’ claims. See, e.g., Newby v. Enron Corp. (In re Enron Corp. Sex.,
Derivative & ERISA Litig.), 761 F. Supp. 2d 504, 518 (S.D. Tex. 2011) (Harmon, J.) (citation omitted). Indeed, the
statement disproves essential elements of both Plaintiffs’ hostile work environment claim and Plaintiffs’ battery claim
against, at the very least, Constable Rosen individually
18
     Id., ¶ 31.
19
   Id., ¶ 45. Sanchez’s vague comment that her transfer was to an unidentified position with “less prestigious duties”
implies Sanchez’s position within the Human Trafficking Unit was, despite Sanchez’s complaints, “prestigious.”


                                                         - 12 -
        Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 20 of 29




requested and received a transfer back to the patrol division. 20 Having admitted each Plaintiff was

assigned as each requested, Plaintiffs’ own factual admissions belie Plaintiffs’ bald and conclusory

allegations of “refusal” and the actual facts – which are only what the Court considers under Iqbal

- are fatal to Plaintiffs’ ability state a claim under this element of a prima facie case of sexual

harassment.

            Importantly, when an employer “once informed of allegations of sexual harassment, takes

prompt remedial action to protect the claimant, the company may avoid…liability.” Harvill v.

Westward Communications, LLC, 433 F.3d 428, 437 (5th Cir. 2005). “The Fifth Circuit has

concluded that…employers taking less drastic measures than termination of the [alleged] harasser

took prompt remedial action as a matter of law.” Colbert v. Georgia-Pacific Corp., 995 F. Supp.

697, 703 (N.D. Tex. 1998). For example, in Nash v. Electrospace System, Inc., 9 F.3d 401 (5th Cir.

1993), the Fifth Circuit found the employer’s prompt investigation and transfer of complainant to

a department away from her harasser was a sufficiently prompt remedial response. Id. at 404.

Accordingly, Plaintiffs’ opinions about the propriety of any remedial measures Precinct One

implemented are wholly insufficient to support Plaintiffs’ supervisor liability claim and, indeed,

are not relevant to Plaintiffs’ claim at all.

            Further, although Felicia McKinney alleges she “and other female deputies protest[ed] and

object[ed] to [the undercover] assignment and operation,” McKinney does not claim she or

anyone else alleged sexual harassment or even facts suggesting the same related to the

operation – she did not – and McKinney completely fails to identify to whom she and the “other

female deputies” protested or objected. 21 It was certainly not Alan Rosen. At minimum,



20
     Id., ¶¶ 59, 61.
21
     Id., ¶ 70.


                                                  - 13 -
        Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 21 of 29




McKinney’s allegations fail to identify Constable Rosen’s personal involvement in any way,

because he was not so personally involved as a supervisor to give rise to a claim against him

individually under well-settled circuit authority and that of this Court.

           To the contrary, as established by the May 24, 2021 “Statement from Constable Alan Rosen

regarding lawsuit,” 22 which Plaintiffs admit having adopted them as Plaintiffs’ own pleading

allegations, having quoted, cited, and linked to their amended complaint, 23 Constable Rosen

“proactively instructed [Precinct One’s] Internal Affairs Division to conduct an investigation”

into Plaintiffs’ allegations “even though no one made a formal complaint.” 24 It is well-settled

that, in an alleged hostile environment case, the court must determine whether the plaintiff took

advantage of preventative or corrective opportunities provided by the employer, no matter whether

the alleged harasser is a supervisor or a coworker. See, Woods v. Delta Bev. Group, Inc., 274 F.3d

295, 300 (5th Cir. 2001); Lauderdale, 512 F.3d at 164-65; Harvill, 433 F.3d at 437. Thus, under

Iqbal each Plaintiff must plead facts that show how and when each did so, 25 yet no Plaintiff alleges

such facts here, except in the most obtuse and conclusory manner.

           Whether any Plaintiff actually availed herself of Precinct One’s policies and procedures

and requested that some unidentified person other than Constable Rosen investigate and remediate

that Plaintiff’s concerns about purportedly harassing conduct, Plaintiffs have failed to allege facts




22
     See n.18, supra.
23
     ECF No. 7, ¶ 14 n.2.
24
     Id. (emphasis added).
25
   Since an employee can “thwart the creation of a hostile work environment” by promptly complaining about
harassing conduct, the employee “should not wait as long as it usually takes for a sexually hostile working environment
develop … . If the plaintiff complains promptly, the then-incidental misbehavior can be stymied before it erupts into
a hostile environment, and no actionable Title VII violation will have occurred.” Indest, 164 F.3d at 265. As Constable
Rosen’s statement – which Plaintiff incorporate into their complaint – shows, no Plaintiff complained – and
certainly none contend they complained to Constable Rosen himself – of a supposed hostile work environment
until Plaintiffs filed suit.


                                                        - 14 -
        Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 22 of 29




showing the Precinct One Constable’s Office, let alone Constable Rosen personally, knew of any

complaints – Plaintiffs do not allege it because Plaintiffs know full well that Alan Rosen was not

aware of any complaints until Plaintiffs filed suit - and refused to take prompt remedial action; a

necessary element of Plaintiffs’ harassment claim.

1.3.       Plaintiffs’ “ratification” theory provides no basis for a claim against Constable Rosen.

           Plaintiffs’ section 1983 claim against Constable Rosen also relies on Plaintiffs’ vague and

unsupported theory that Constable Rosen “ratified” 26 Chief Gore’s actions, 27 but this Court has

found that, while “ratification” is a narrow basis for potential municipal liability – the Fifth Circuit

appears to have approved it once and rejected it ever since 28 – this Court has found there appear

to be “no cases that impose liability on a supervisor based on ratification.” Hobart v. City of

Stafford, 916 F. Supp. 2d 783, 799 (S.D. Tex. 2013) (Ellison, J.). Thus, it is not surprising Plaintiffs

fail to identify any legal basis for such a claim because none exists to support this claim. To be

sure, even if the Court were inclined to accept Plaintiffs’ suggestion to invent such a cause of

action, no clearly established law could vitiate immunity based on such a novel claim.

1.4.       Plaintiffs cannot assert a supervisor liability claim against Constable Rosen because
           Plaintiffs fail to state a claim against Chief Gore or Lt. Rigdon.

           As discussed in Chief Gore and Lt. Rigdon’s motion to dismiss,29 Plaintiffs have failed to

state a claim for sexual harassment against Chief Gore or Lt. Rigdon. Without such a claim,

Plaintiffs cannot as a matter of law assert a section 1983 claim based on even the narrow scope of

supervisory liability against Constable Rosen. Like governmental liability claims, “[s]upervisory



26
   A similarly conclusory statement untethered to any factual allegations as required by Iqbal to even be regarded by
the Court. Rather, under Iqbal, it must be ignored.
27
     ECF No. 7, ¶ 116.
28
     C.f., Coon v. Ledbetter, 780 F.2d 1158, 1161 (5th Cir. 1986).
29
     See Chief Gore and Lt. Rigdon’s Motion to Dismiss, filed contemporaneously with this motion.


                                                         - 15 -
     Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 23 of 29




liability claims ... require an underlying constitutional violation.” Williams v. Town of Delhi, No.

14-043, 2015 U.S. Dist. LEXIS 24173, *7 (W.D. La. Feb. 17, 2015). See also, Richardson v. Avery,

No. 3:16-CV-2631-M-BH, 2018 U.S. Dist. LEXIS 182589, *9 n.8 (N.D. Tex. Oct. 1, 2018).

2.     Felicia McKinney has not and cannot as a matter of law state a due process claim for
       “sexual battery.”

       Nothing in the reported jurisprudence suggests allegations of “sexual battery” - a common

law tort claim arising only under state law - allegedly committed between fellow employees is

actionable as a constitutional violation. To be sure, McKinney fails to identify from where springs

this novel theory of section 1983 liability, and McKinney certainly fails in her burden to identify

“clearly established law” creating, let alone defining the contours, of such a merely alleged cause

of action.

       The United States Supreme Court has repeatedly rejected the idea that “the Due Process

Clause of the Fourteenth Amendment and § 1983 make actionable many wrongs inflicted by

government employees which had heretofore been thought to give rise only to state-law tort

claims.” Paul v. Davis, 424 U.S. 693, 699 (1976), accord Collins v. City of Harker Heights, 916

F.2d 284, 286 (5th Cir. 1990). Rather, the Supreme Court has made clear that;

       our Constitution deals with the large concerns of the governors and the governed,
       but it does not purport to supplant traditional tort law in laying down rules of
       conduct to regulate liability for injuries that attend living together in society. The
       Supreme Court has previously rejected reasoning that “would make of the
       Fourteenth Amendment a font of tort law to be superimposed upon whatever
       systems may already be administered by the states.”

Daniels v. Williams, 474 U.S. 327, 332 (1986) (quotation modified). Accordingly, this Court has

repeatedly held it is clear that, as a matter of law, “state-law claims for assault and battery may

not proceed under § 1983.” Cf., Parker v. Missouri City, Civ. A. No. H-12-2484, 2014 U.S. Dist.

LEXIS 171021, *36 (S.D. Tex. Dec. 10, 2014) (Harmon, J.) (emphasis added); George v. Harris




                                               - 16 -
        Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 24 of 29




Cty., Civ. A. No. H-10-3235, 2012 U.S. Dist. LEXIS 94318, *25 (S.D. Tex. July 9, 2012)

(Rosenthal, J.) (citing Smith v. Spina, 477 F.2d 1140, 1143-44 (3d Cir. 1973)).

           If McKinney could even arguably pursue her common law battery claim under section

1983, McKinney’s allegations would not survive dismissal because, even though the Due Process

Clause protects an individual’s right to bodily integrity, Washington v. Glucksberg, 521 U.S. 702,

719-20 (1997), the Fifth Circuit has held only “an assault of an egregious nature, whether physical

or sexual, can rise to the level of a substantive due process violation under the Constitution.”

Rodriguez v. Christus Spohn Health Sys. Corp., 874 F. Supp. 2d 635, 644 (S.D. Tex. 2012) (Rainey,

J.) (citing Doe v. Rains County Indep. Sch. Dist., 66 F.3d 1402, 1406-07 (5th Cir. 1995)). To be

sure, the substantive component of the due process clause is violated “only when it can properly

be characterized as arbitrary, or conscience shocking, in a constitutional sense.” County of

Sacramento v. Lewis, 523 U.S. 833, 847 (1998) (quotations omitted) (emphasis added). “Put

another way, ‘a typical state-law tort claim’ does not rise to the level of a constitutional tort that

violates substantive due process.’” Chestang v. Alcorn State Univ., 820 F. Supp. 2d 772, 779 (S.D.

Miss. 2011) (quoting Collins, 503 U.S. at 128). Moreover, “psychological injury alone does not

constitute a violation of bodily integrity as contemplated under the Fourteenth Amendment,” nor

does “freedom from false stigmatization…constitute a protected liberty interest under the

Fourteenth Amendment.” Doe v. Silsbee Indep. Sch. Dist., 402 Fed. Appx. 852, 854 (5th Cir. 2010).

           Here, McKinney alleges, quite inexplicably, in pertinent part, that Constable Rosen, Chief

Gore, and Lt. Rigdon “violated McKinney’s rights” when Constable Rosen – and only Constable

Rosen – purportedly did no more than “order[] an operation 30 in which Felicia McKinney was sent

into a massage parlor with the express intention of having her be sexually assaulted by a suspected


30
     “Ordering” an operation is not the type of personal involvement necessary to state a claim of supervisory liability.


                                                          - 17 -
       Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 25 of 29




rapist,” and, in doing so, “exposed McKinney to this assault with the intent that she be assaulted

so that a public arrest could be made.” 31 Since McKinney makes no allegation that Constable

Rosen directly ordered McKinney to participate in that investigation, for which Constable Rosen

was not even present, McKinney’s efforts to state a claim against Constable Rosen as a supervisor

fall obviously short in light of well-established Fifth Circuit precedent.

           Even accepting McKinney’s vague allegations as true, McKinney’s battery claim against

Constable Rosen also fails because the “battery” McKinney complains of was not perpetrated by

Constable Rosen and Constable Rosen had no control over the criminal who perpetrated

McKinney’s alleged battery. 32 Even if Constable Rosen intended for McKinney to be injured,

under “foundational tort law principles,…the intentional tort of battery lies where the offensive

contact is intentional, not the resulting injury.” Estate of Aguirre v. City of San Antonio, 995 F.3d

395, 422 (5th Cir. 2021). In other words, since McKinney admits the individual who assaulted

McKinney was not Constable Rosen, McKinney has not stated and cannot state a claim for battery

against Constable Rosen.

3.         Constable Rosen is immune from all Plaintiffs’ claims.

           Even if, arguendo, Plaintiffs could sue Constable Rosen, Plaintiffs fail to overcome the

presumption of Constable Rosen’s immunity from suit. “Public officials acting within the scope

of their official duties are shielded from civil liability by the qualified immunity doctrine.” Kipps

v. Caillier, 197 F.3d 765, 768 (5th Cir.), cert. den’d., 531 U.S. 816 (2000) (citing Harlow v.

Fitzgerald, 457 U.S. 800, 815-19 (1982)). “A claim of [qualified] immunity must be resolved at

the earliest possible stage of litigation because it entails an entitlement to immunity from suit and


31
     ECF No. 7, ¶¶ 184-86.
32
   If McKinney’s novel allegation could state a claim against a law enforcement supervisor, what law enforcement
officer injured by a suspect would not have a claim against their supervisor(s) for the tort committed by a criminal?


                                                       - 18 -
    Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 26 of 29




not merely a defense to liability.” Gunaca v. Texas, 65 F.3d 467, 473 (5th Cir. 1995) (citing Hunter

v. Bryant, 502 U.S. 224, 226 (1991)). A governmental official performing discretionary functions

in the course of his official duties “is entitled to qualified immunity if his ‘conduct does not violate

clearly established statutory or constitutional rights of which a reasonable person would have

known.’” Longoria v. San Benito Indep. Consol. Sch. Dist., 942 F.3d 258, 264 (5th Cir. 2019)

(quoting Harlow, 457 U.S. at 818).

       Because it is Plaintiffs’ burden to disprove immunity, Backe v. Leblanc, 691 F.3d 645 (5th

Cir. 2012), to avoid dismissal, Plaintiffs must allege, at the motion to dismiss stage, facts that

overcome qualified immunity by showing that Constable Rosen committed an unconstitutional act

and that Constable Rosen violated “clearly established law.” As discussed supra, Plaintiffs have

failed to satisfy the first prong of overcoming qualified immunity. As discussed supra, Plaintiffs

have failed to state a plausible Fourteenth Amendment equal protection or due process claim

against Constable Rosen and they cannot as a matter of law – at least on the facts they have twice-

alleged – do so. Further, Plaintiffs do not assert a single factual allegation of personal involvement

by Constable Rosen, as section 1983 requires. Thus, Plaintiffs have failed to sufficiently plead the

existence of any constitutional violation. But, Plaintiffs also fail as to the second element of their

burden to disprove immunity.

       Even assuming Plaintiffs could have asserted a viable constitutional claim – they cannot -

it is Plaintiffs’ burden to allege detailed facts to show Constable Rosen was on notice, through

judicial decisions, that his actions were clearly unlawful such that no reasonable constable could

have thought Constable Rosen’s alleged conduct was legal. See, e.g., Saucier v. Katz, 533 U.S.

194, 202 (2001); Blackwell v. Barton, 34 F.3d 298, 303 (5th Cir. 1994) (quoting Pfannstiel v.

Marion, 918 F.2d 1178, 1183 (5th Cir. 1990)). “While a plaintiff seeking to overcome qualified



                                                 - 19 -
    Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 27 of 29




immunity need not present a case directly on point, existing precedent must have placed the

statutory or constitutional question beyond debate[.]” Anderson v. Valdez, 913 F.3d 472, 476 (5th

Cir. 2019) (emphasis added) (internal quotations and citations omitted); see also Longoria, 942

F.3d at 268. Thus, as to their imagined claims of “sexual battery under § 1983” as well as their

Title VII claims brought under § 1983 – likely to avoid EEOC investigative scrutiny – each Plantiff

must identify “clearly established” law sufficient to show that no constable – not one – could

reasonably believe Constable Rosen’s actions as to each Plaintiff were lawful.

       While Plaintiffs’ complaint is chock-full of scurrilous, largely fictional, conclusory

allegations, Plaintiffs have failed to even address their burden to set forth factual allegations which

disprove the presumption of Constable Rosen’s immunity by showing that no reasonable constable

could have thought Constable Rosen’s conduct was lawful. Thus, even if the Court finds Plaintiffs

state any section 1983 claim, the Court must still dismiss Plaintiffs’ claims against Constable

Rosen based on the presumption of his immunity from suit, which Plaintiffs fail to disprove.

                                               Prayer

       Because Plaintiffs Liz Gomez, Marissa Sanchez, Felicia McKinney, and Jassmine Huff

have failed to plead facts supporting a plausible claim for relief, the Court should dismiss

Plaintiffs’ claims against Constable Alan Rosen under Rule 12(b)(6) of the Federal Rules of Civil

Procedure.




                                                - 20 -
    Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 28 of 29




Dated: June 29, 2021                Respectfully submitted,
                                    Lewis Brisbois Bisgaard & Smith, LLP

                                    / s / William S. Helfand
                                    William S. Helfand
                                    Attorney-In-Charge
                                    Texas Bar No. 09388250
                                    S.D. Tex. Bar No. 8791
                                    bill.helfand@lewisbrisbois.com
                                    Sean O’Neal Braun
                                    Texas Bar No. 24088907
                                    S.D. Tex. Bar No. 2210748
                                    sean.braun@lewisbrisbois.com
                                    24 Greenway Plaza, Suite 1400
                                    Houston, Texas 77046
                                    (713) 659-6767
                                    (713) 759-6830 (Fax)

                                    -and-

                                    The Hall Law Group, PLLC

                                    /s/ Benjamin L. Hall, III
                                    Benjamin L. Hall, III
                                    State Bar No. 08743745
                                    S.D. Tex. Bar No. 8787
                                    530 Lovett Blvd.
                                    Houston, Texas 77006
                                    (713) 942-9600
                                    (713) 942-9566 (Fax)
                                    bhall@bhalllawfirm.com

                                    Attorneys for Constable Alan Rosen




                                     - 21 -
    Case 4:21-cv-01698 Document 16 Filed on 06/29/21 in TXSD Page 29 of 29




                                       Certificate of Service

       I hereby certify that on June 29, 2021, I electronically filed the foregoing document with

using the CM/ECF system, and a copy of this filing has been forwarded to all counsel of record in

accordance with the ECF local rules.

                                              /s/ William S. Helfand
                                              William S. Helfand




                                               - 22 -
